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UNITED STATES DISTRICT COURT .
SOUTHERN DISTRICT OF TEXAS Ouida Bra ~=
HOUSTON DIVISION Clerk of Cont

UNITED STATES OF AMERICA

V. CRIMINAL NO.

KD UI? KID KD

ERNESTO HERNANDEZ - MONTEMAYOR § UNDER SEAL

 

 

Cn I OD

Defendant.

CRIMINAL INFORMATION
The United States charges that:

General Allegations

1, “The Foreign State Government” was the government of one of the thirty-one
states that comprise Mexico. The Foreign State Government was a “foreign government,” and
an “agency” and “department” of a foreign government, as those terms are used in the Foreign
Corrupt Practices Act (“FCPA”), Title 15, United States Code, Section 78dd-2(h)(2).

2. The defendant, ERNESTO HERNANDEZ MONTEMAYOR
(“HERNANDEZ”), was an employee of The Foreign State Government with responsibility for
maintaining The Foreign State Government’s aircraft from at least in or around 2005 through in
or around December 2010. Thus, from at least in or around 2005 through in or around December

2010, HERNANDEZ was a “foreign official,” as that term is used in the FCPA, Title 15, United

States Code, Section 78dd-2(h)(2).

3. “Foreign State Government Employee 1” was an employee of The Foreign State

Government from in or around 2005 to in or around December 2010.
Case 4:15-cr-00617 Document 18 Filed on 11/27/15 in TXSD Page 2 of 5

4, “Aviation Corporation A” was a United States company, headquartered in Texas,
which provided maintenance, repair, overhaul, and related services to customers in the United
States and Mexico, including to The Foreign State Government. Thus, at all relevant times,
Aviation Corporation A was a “domestic concern,” as that term is used in the FCPA, Title 15,
United States Code, Section 78dd-2(h)(1).

5. “Executive 1” was a citizen of the United States and a resident of Texas.
Executive 1 was an employee of Aviation Corporation A from in or around 1975 to at least in or
around September 2015. Executive 1 was an owner of Aviation Corporation A from in or
around 1993 through in or around 2010. Thus, at all relevant times, Executive 1 was a “domestic
concern” and an officer, employee, and agent of a “domestic concern,” as those terms are used in
the FCPA, Title 15, United States Code, Section 78dd-2(h)(1).

6. “Executive 2” was a citizen of the United States and a resident of Texas.
Executive 2 was the Director of Maintenance of Aviation Corporation A from in or around 1978
through at least in or around September 2015. Executive 2 was an owner of Aviation
Corporation A from in or around 1993 through in or around 2010. Thus, at all relevant times,
Executive 2 was a “domestic concern” and an officer, employee, and agent of a “domestic
concern,” as those terms are used in the FCPA, Title 15, United States Code, Section 78dd-
2(h)(1).

7. “Aviation Corporation B” was a United States company, headquartered in
Houston, Texas, which provided maintenance, repair, overhaul, and related services to customers
in the United States and Mexico, including to The Foreign State Government. Thus, at all
relevant times, Aviation Corporation B was a “domestic concern,” as that term is used in the

FCPA, Title 15, United States Code, Section 78dd-2(h)(1).
Case 4:15-cr-00617 Document 18 Filed on 11/27/15 in TXSD Page 3 of 5

8. “Executive 3” was a citizen of the United States and a resident of Texas.
Executive 3 was an officer of Aviation Corporation B and an owner of Aviation Corporation B.
Thus, at all relevant times, Executive 2 was a “domestic concern” and an officer, employee, and
agent of a “domestic concern,” as those terms are used in the FCPA, Title 15, United States
Code, Section 78dd-2(h)(1).

COUNT 1
Conspiracy to Commit Money Laundering
(18 U.S.C. § 1956(h))

9. From in or around 2006 through in or around December 29, 2010, the exact dates

being unknown, in the Southern District of Texas and elsewhere, the defendant,
ERNESTO HERNANDEZ MONTEMAYOR,
knowingly did combine, conspire, confederate, and agree with others known and unknown,
including Foreign State Government Employee 1, Executive 1, Executive 2, and Executive 3, to
engage in monetary transactions by, through, and to a financial institution, in and affecting
interstate commerce, in criminally derived property that was of a value greater than $10,000, that
is, the deposit, withdrawal, transfer and exchange of United States currency, funds and monetary
instruments, such property having been derived from specified unlawful activity, namely,
violations of the Foreign Corrupt Practices Act, Title 15 United States Code, Section 78dd-2, in
violation of Title 18 United States Code, Section 1957.
Manner and Means of the Conspiracy
10. The manner and means by which defendant HERNANDEZ and his co-

conspirators sought to accomplish the purpose and object of the conspiracy included, among

other things, the following:
Case 4:15-cr-00617 Document 18 Filed on 11/27/15 in TXSD Page 4of5

11. Defendant HERNANDEZ, together with others, including Executive 1,
Executive 2, and Executive 3, discussed the payment of bribes to Defendant HERNANDEZ in
exchange for Defendant HERNANDEZ’s assistance in obtaining and retaining business with
The Foreign State Government for Aviation Corporation A, Aviation Corporation B, and others.

12. Defendant HERNANDEZ, together with others, including Executive 1,
“Executive 2, and Executive 3, agreed that Aviation Corporation A, Aviation Corporation B,
Executive 1, Executive 2, Executive 3, and others would pay bribes to Defendant
HERNANDEZ in order to obtain and retain business with The Foreign State Government.

13. Defendant HERNANDEZ, together with others, assisted Aviation Corporation A,
Aviation Corporation B, Executive 1, Executive 2, Executive 3, and others in obtaining and
retaining business with The Foreign State Government as a result of the bribery scheme. |

14. Defendant HERNANDEZ, together with others, including Foreign State
Government Employee 1, Executive 1, Executive 2, and Executive 3, caused the Foreign State
Government to make payments to the bank accounts of Aviation Corporation A, Aviation
Corporation B, and others for goods and services procured as a result of the bribery scheme.

15. Defendant HERNANDEZ, together with others, including Foreign State
Government Employee 1, Executive 1, Executive 2, and Executive 3, agreed to use the proceeds
of the bribery scheme, and did use the proceeds of the bribery scheme, to engage in monetary

transactions from U.S. bank accounts that were of a value greater than $10,000.
Case 4:15-cr-00617 Document 18 Filed on 11/27/15 in TXSD Page 5 of 5

16. Defendant HERNANDEZ, together with others, agreed to use the proceeds of the
bribery scheme, and did use the proceeds of the bribery scheme, to transfer amounts greater than
$10,000 to the bank account of Foreign State Government Employee | for his role in the bribery
scheme.

All in violation of Title 18, United States Code, Section 1956(h).

 

 

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